    Case 14-00227-SMT            Doc 56 Filed 07/27/16 Entered 07/27/16 15:59:18                       Desc Notice
                                     of Possible Dividend Page 1 of 2
NPD (12/15)




                                             United States Bankruptcy Court for
                                                 the District of Columbia
                                          E. Barrett Prettyman U. S. Courthouse
                                            333 Constitution Ave, NW #1225
                                                 Washington, DC 20001
                                                      (202) 354−3280
                                                  www.dcb.uscourts.gov


In Re                                                                                      Case No. 14−00227
Byron Webster Jordan and Helen Monique Holt−Jordan
Debtor                                                                                     Chapter 7




                                     NOTICE OF POSSIBLE DIVIDENDS
                                  AND DEADLINE TO FILE PROOF OF CLAIM

                               =========================================



   It appeared from the schedules when this case was instituted that there were no assets from which dividends could
be paid to creditors and the notice of initial meeting of creditors so indicated.

   It now appears that the payment of a dividend may be possible. Pursuant to Bankruptcy Rule 3002(c)(5), the
deadline for filing a Proof of Claim is fixed as 90 days after the mailing of this notice (which will occur two days after
the date set forth below).

   The deadline for filing a claim resulting from the rejection by the debtor of an executory contract or unexpired
lease is 60 days after the rejection of the executory contract or the lease or 90 days after the date of this notice
whichever is later, unless otherwise specified by the Court.

   Except as otherwise provided by law, in order to share in any payment from the estate, a creditor must file a Proof
of Claim by the date set forth above.


Dated: 7/27/16                                               For the Court:
                                                             Clerk of the Court
                                                             BY: kb
    Case 14-00227-SMT              Doc 56 Filed 07/27/16 Entered 07/27/16 15:59:18                  Desc Notice
                                       of Possible Dividend Page 2 of 2



                                       Instructions for Filing a Proof of Claim

You must file an original and one copy of the Proof of Claim Form (Official Form 410). The original Proof of Claim
must be filed with the Office of the Clerk and a copy with the Trustee as listed below.




Mail original Proof of Claim to:                           Mail a copy of the Proof of Claim to:
United States Bankruptcy Court                             William Douglas White McCarthy & White, PLLC
U. S. Courthouse                                           1751 Pinnacle Dr.
333 Constitution Ave., NW                                  Suite 1115
Washington, DC 20001                                       McLean, VA 22102



For copies of the Proof of Claim form, you may contact the Office of the Clerk or print it from the United States
Courts web site located at (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx). If you would like
to receive an acknowledgement of the filing of your claim, enclose a stamped, self−addressed envelope and a copy of
the Proof of Claim. Verification of the filing of a Proof of Claim cannot be provided over the telephone. If a claim was
previously submitted, it is not necessary to file another one.
